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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

RICHARD A. ROSEN,                                    :       CIVIL ACTION NO.
On Behalf of the Ferguson Enterprises, Inc.          :       3:15-cv-1839-VAB
401(k) Retirement Savings Plan and On Behalf         :
of All Other Similarly Situated Employee             :       AMENDED
Benefit Plans,                                       :       CLASS ACTION COMPLAINT
                                                     :
                              Plaintiff,             :
                                                     :
               vs.                                   :
                                                     :       JURY TRIAL DEMANDED
PRUDENTIAL RETIREMENT INSURANCE                      :
AND ANNUITY COMPANY, PRUDENTIAL                      :
BANK & TRUST, FSB, CAPFINANCIAL                      :
PARTNERS, LLC d/b/a CAPTRUST                         :
FINANCIAL ADVISORS AND                               :
FERGUSON ENTERPRISES, INC.,                          :
                                                     :
                              Defendants.            :

       Plaintiff, Richard A. Rosen (“Plaintiff”), by and through his undersigned counsel, in

support of this Amended Complaint, hereby pleads and avers as follows:

                                     I.    INTRODUCTION

       1.      Personal savings accounts in the form of 401(k) and other defined contribution

plans have become the primary method for employees in the United States to save for retirement

in recent years. The importance of defined contribution plans to the United States retirement

system has become increasingly pronounced as employer-provided defined benefit (“DB”) plans

have become increasingly rare as an offered and meaningful employee benefit.

       2.      Prudential (defined below) acts as the “service provider” and a fiduciary for

thousands of 401(k) retirement plans in the United States.

       3.      Prudential has entered into revenue sharing agreements and similar arrangements
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to receive indirect compensation (“revenue sharing contracts” or “participation agreements”)

with various mutual funds, affiliates of mutual funds, its own affiliates, mutual fund advisors,

sub-advisors, investment funds, including collective trusts, registered investment companies and

other investment advisors, instruments or vehicles (collectively, “mutual funds”), pursuant to

which Prudential receives these revenue sharing payments, which amount to kickbacks and/or

other disguised, opaque and prohibited compensation for its own benefit from these mutual funds

in violation of, inter alia, the prohibited transaction rules of the Employee Retirement Income

Security Act (“ERISA”), 29 U.S.C. §§1001, et seq. (i.e., ERISA §§ 404 and 406(b), 29 U.S.C. §§

1104 and 1106(b)), as well as ERISA’s fiduciary rules (i.e., ERISA §§ 404(a)(1)(A) and (B), 29

U.S.C. §§ 1104(a)(1)(A) and (B)).

       4.      The revenue sharing payments at issue are essentially part of a pay-to-play scheme

in which Prudential receives payments from mutual funds in the form of 12b-1 fees,

administration fees, service fees, sub-transfer agent fees, other indirect compensation and/or

similar fees (the “revenue sharing payments” or “RSPs”) in return for providing the mutual funds

with access to its retirement plan customers, including its 401(k) plan customers.

       5.      Prudential also otherwise earns excessive fees and improperly influences its own

compensation through a variety of means detailed below.

       6.      Prudential invests the retirement assets of the Plan (defined below) and the Plans

in the mutual funds generally through insurance company pooled separate accounts, common or

collective trusts, individual trusts and similar vehicles and, by and through each instrument by

which it accomplishes such investments, Prudential influences its own compensation, earns


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excessive compensation and otherwise fails to act in the best interests of the retirement plans it

services and their participants.

       7.       Insurance company separate accounts (the “Separate Accounts,” defined more

specifically below) are commingled investment vehicles that aggregate assets from more than

one retirement plan and generally are made available through group annuity contracts or group

funding agreements issued by insurance companies to qualified retirement plans, such as 401(k)

plans. As of December 31, 2014, over $152 million of the assets of the Plan (defined below)

were invested in Prudential’s Separate Accounts. These assets of the Plan were invested in

mutual funds, one of which is managed and operated by a Prudential affiliated entity, which pay

Prudential RSPs in connection with these Separate Account investments in violation of ERISA.

       8.      Prudential uses its ownership and control over Separate Accounts in which its

retirement plan customers’ investments are placed to negotiate for the receipt of these revenue

sharing payments from mutual funds, and the revenue sharing payments have the effect of

increasing the expense ratios of the mutual funds, which expenses are generally deducted directly

from the retirement assets of the Separate Accounts. Prudential has acknowledged its fiduciary

status under ERISA, inter alia, by virtue of its ownership and control of these Separate Accounts,

as well as the discretion, authority and control it holds and exercises with respect to the Separate

Accounts.

       9.      A common or collective trust (“Collective Trust”) is an instrument by which a

trustee holds the assets of many plans under one trust instrument. As of December 31, 2014,

over $254 million of the assets of the Plan (defined below) were invested in Prudential’s Core


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Conservative Bond Fund (the “Core Bond Fund” or the “Stable Value Fund”) through one of

Prudential’s Collective Trusts in connection with a Synthetic Guaranteed Insurance Contract (the

“Synthetic GIC”) between Prudential and the Plan (defined below). The Stable Value Fund is

invested through the Prudential Trust Company Collective Trust, which is owned, managed and

operated by a Prudential affiliate, Prudential Trust Company (a Pennsylvania trust company), and

which also may facilitate investments in other mutual funds by and through Collective Trusts.

No claims are asserted in this action with respect to the Stable Value Fund or the Synthetic GIC.

       10.     The retirement assets of the Plans invested through Collective Trusts also may

include investments from Separate Accounts with the Separate Accounts being treated as assets

of the Collective Trusts.

       11.     Prudential, by and through Prudential Trust (defined below), also enters into

individual trust agreements (“Trust Agreements”) with the Plans, including the Plan, pursuant to

which the retirement assets of the Plans are invested in mutual funds through trusts (the

“Participating Trusts”), which may then be invested through Collective Trusts. As of December

31, 2014, independent of mutual fund investments through the Separate Accounts, over $786

million of the assets of the Plan were invested in such mutual funds through one of the

Participating Trusts and/or Collective Trusts (collectively, “Trusts”) established with respect to

the Plan. In light of the nature of its trust agreements with its retirement plan customers, the

Trusts operate in a manner that is akin to Prudential’s Separate Accounts for all intents and

purposes, with Prudential taking legal ownership and title to the retirement assets in these trusts.

       12.     Prudential uses its ownership and control over the Trusts and these trusts’ assets


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to negotiate for the receipt of these revenue sharing payments from mutual funds, and the

revenue sharing payments have the effect of increasing the expense ratios and fees of the mutual

funds, which reduce the amount of retirement assets of the Plans. Prudential has specifically

acknowledged its fiduciary status under ERISA by, inter alia, virtue of its ownership and control

of these Trusts, as well as the discretion, authority and control it holds and exercises with respect

to these trusts.

        13.        The revenue sharing payments are based, in whole or in part, on a percentage of

the retirement plans’ investments in a mutual fund that are delivered to it by Prudential and/or

based on the magnitude of the investments by such retirement plans in the mutual fund.

        14.        While the revenue sharing payments are often internally described by service

providers, such as Prudential, as “services fees” and reimbursement for expenses incurred in

providing services for, to, or on behalf of the mutual funds, and deceptively characterized as such

to retirement plans and their participants (thereby concealing their true nature), the amounts of

the RSPs bear absolutely no relationship to the cost or value of any such services. Indeed,

Prudential performs the same services regardless of the amount of revenue sharing payments, if

any, made to it. As a result of its acceptance of these unlawful payments, Prudential occupies a

conflicted position whereby it effectively operates a system in which it is motivated to increase

the amount of such payments, while improperly requiring certain plans and/or participants who

invest in mutual funds and similar investments that provide higher amounts of revenue sharing

payments to incur and pay unreasonably high fees for the services provided. Prudential also fails

to appropriately credit the amount of RSPs on a dollar-for-dollar basis for the benefit of the Plans


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and their participants in breach of its fiduciary duties to the Plans and their participants.

       15.     The services provided by Prudential that may incidentally benefit mutual funds

(beyond pure and simple access to retirement plan customers -- referred to sometimes as pay-to-

play, shelf-space or kickback arrangements) are actually services that Prudential has historically

provided to its retirement plan customers as a necessary part of its business in return for fees

directly collected by it from such customers, and these fees generally did not change as a result of

Prudential’s receipt of the RSPs from the mutual funds and were not reduced in a manner that

corresponds with the amount of revenue sharing payments received.

       16.     Prudential’s receipt of the revenue sharing payments at issue violates ERISA’s

prohibited transaction and fiduciary duty rules and should not be countenanced, since the receipt

of such payments places Prudential in a conflicted position in which, inter alia, the interests of its

retirement plan customers can be and are sacrificed in the interest of Prudential earning greater

profits through the receipt of revenue sharing payments.

       17.     As explained below, Prudential also has engaged in acts of self-dealing with

respect to the retirement assets of the Plans (defined below) and the Class (defined below) held in

the Separate Accounts (defined below) and the Trusts, as well as with respect to certain

proprietary and/or sub-advised mutual funds and, in so doing, also has otherwise violated the

prohibited transaction rules of ERISA, as well as ERISA’s fiduciary rules.

       18.     As explained below, the Ferguson Defendants (defined below) have breached

their fiduciary duties by causing the Plan to pay grossly excessive fees to Prudential and certain

mutual funds (as defined above) with respect to the retirement services provided to the Plan


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and/or by failing to appropriately monitor the conduct of Prudential and, as a result of such

breaches of fiduciary duty, the Sub-Class (defined below) has suffered significant harm and

losses.

          19.   This is an action for equitable relief and losses suffered under ERISA in which

Plaintiff seeks to recover, for the benefit of the 401(k) plans in the Class and all other similarly

situated retirement plans and entities (collectively, the “Plans”), also known as employee pension

benefit plans under ERISA Section 3(2)(A), 29 U.S.C. § 1002(2)(A) that are subject to Internal

Revenue Code Sections 401(a) and 401(k), as well as the Sub-Class (defined below), the revenue

sharing payments and other compensation that Prudential has improperly received, as well as the

excessive compensation that has been paid by the Plan, its participants and beneficiaries as a

result of the Ferguson Defendants’ breaches of fiduciary duty.

          20.   Plaintiff brings this action on behalf of the Plan and on behalf of all other

similarly situated Plans under ERISA §§ 409(a) and 502(a) and (g), 29 U.S.C. §§ 1109(a) and

1132(a) and (g), to recover the following relief:

                !      A declaratory judgment holding that the acts of Prudential and the
                       Ferguson Defendants described herein violate ERISA and applicable law;

                !      A permanent injunction against Defendants prohibiting the practices
                       described herein;

                !      Disgorgement and/or restitution of all the revenue sharing payments and
                       other compensation improperly received by Prudential, or, alternatively,
                       the profits earned by Prudential in connection with its receipt of such
                       revenue sharing payments and other unlawful compensation;

                !      Damages in the form of all losses suffered by the Plans and all other
                       recoverable damages;


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               !       Attorneys’ fees, costs and other recoverable expenses of litigation; and

               !       Such other and additional legal or equitable relief that the Court deems
                       appropriate and just under all of the circumstances.

                                       II.   THE PARTIES

       21.     Plaintiff is a former participant of the Ferguson Enterprises, Inc. 401(k)

Retirement Savings Plan f/k/a Wolseley North America 401(k) Plan ( the “Ferguson Plan” or the

“Plan”). At all pertinent times, as discussed more fully below, Prudential acted as a service

provider for and a fiduciary of the Plan, as well as all of the Plans. Plaintiff brings this action in

a representative capacity on behalf of the Plan and all other similarly situated Plans (collectively,

the “Plans”), as well as on behalf of the Class (defined below) and Sub-Class (defined below).

Plaintiff is a resident of Oak Park, Ventura County, California.

       22.     Defendant, Prudential Retirement Insurance and Annuity Company (“PRIAC”), is

an insurance company with its principal place of business in Hartford, Connecticut. PRIAC is

self-described as a “Prudential Financial” company, with Prudential Financial being a service

mark of The Prudential Insurance Company of America and its affiliates. “Prudential

Retirement” is self-described as a “Prudential Financial” business unit. The group annuity

contracts and/or group funding agreements (discussed more fully below and defined as the

“Group Contracts”) of “Prudential Retirement” are issued by PRIAC. PRIAC also issues

insurance and/or investment products known as “institutional sub-advised funds,” which are

offered as investment options to the Plans. PRIAC is a fiduciary to the Plans within the meaning

of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

       23.     Defendant, Prudential Bank & Trust, FSB (“Prudential Trust”), also is a

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Prudential Financial company and serves as the Trustee to the Plan, as well as many, if not all, of

the Plans. As a technical matter, Prudential Trust acts as the “contractholder” of the Group

Contracts (defined below) for the Plans in its capacity as the Trustee for the Plans. As a result,

under the terms of the Contract, Prudential Trust has the authority, control and discretion to, inter

alia, add, delete or substitute the investment options available to the Plans, as well as to make

investment decisions on behalf of the Plans and to allocate any revenue sharing payments

received by Prudential Trust. Prudential Trust will not act as the trustee for the Plans’ retirement

funds unless PRIAC is engaged as the service provider by the Plans. Prudential Trust also

maintains its principal place of business in Hartford, Connecticut at the same address as PRIAC.

Prudential Trust is a fiduciary to the Plans within the meaning of ERISA Section 3(21)(A), 29

U.S.C. § 1002(21)(A).

       24.     PRIAC and Prudential Trust are and function as alter egos of each other, as a joint

entity, as an integrated enterprise and/or as agents of each other in the form of “Prudential

Retirement.” At all pertinent times, PRIAC and Prudential Trust shared the same or overlapping

offices, executives and employees and acted without regard for the corporate formalities between

them. Each of the Defendants is legally responsible for the actionable conduct detailed in this

Complaint since, at all pertinent times, the employee and labor relations, as well as the

compensation and benefit activities and the sales and marketing policies and procedures of

PRIAC and Prudential Trust, have operated from and through a mechanism of centralized control

within Prudential Retirement.

       25.     PRIAC and Prudential Trust share employees, operate under a system of


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centralized and consolidated labor and employee relations, and do not operate at arms’ length

vis-a-vis each other. Unless otherwise noted, PRIAC and Prudential Trust are referred to

collectively hereafter as “Prudential” or “Prudential Retirement” or “Prudential Financial.”

Prudential is a fiduciary of the Plans within the meaning of ERISA Section 3(21)(A), 29 U.S.C. §

1002(21)(A).

       26.     Defendant, CapFinancial Partners, LLC d/b/a CapTrust Financial Advisors

(“CapTrust”), is a co-fiduciary of the Plan and provides investment advice to the Administrator

of the Plan. CapTrust maintains its principal place of business in Raleigh, North Carolina, and

maintains offices throughout the United States, including in this judicial district. CapTrust is a

fiduciary of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

       27.     Defendant, Ferguson Enterprises, Inc. f/k/a Wolseley Investments, Inc.

(“Ferguson”), is the Administrator of the Plan. Ferguson maintains its principal place of business

in Newport News, Virginia, and maintains offices throughout the United States, including in this

judicial district. Ferguson, which acts by and through a Retirement Plan Committee appointed by

its Board of Directors and an Investment Committee with respect to the Plan (the past and

present identities of whom are currently unknown to Plaintiff), is a fiduciary of the Plan within

the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

       28.     CapTrust and Ferguson are referred to collectively herein as the “Ferguson

Defendants.”




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                               III.   JURISDICTION AND VENUE

        29.      Plaintiff seeks relief on behalf of the Ferguson Plan and all other similarly situated

Plans pursuant to ERISA’s civil enforcement remedies with respect to fiduciaries and other

interested parties and, specifically, under ERISA Sections 409 and 502, 29 U.S.C. § 1109 and 29

U.S.C. § 1132.

        30.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and

ERISA Section 502(e), 29 U.S.C. § 1132(e).

        31.      Venue is proper in this judicial district pursuant to ERISA Section 502(e), 29

U.S.C. § 1132(e) and 28 U.S.C. § 1391, because Prudential maintains its headquarters and

principal place of business in Hartford, Connecticut, and virtually all of the key documents,

witnesses and information regarding the Plan and the Plans (defined below) are located in the

State of Connecticut.

        32.      At all pertinent times, Prudential has conducted its retirement business and the

retirement business of all other Prudential affiliates and entities from its offices in this judicial

district in Hartford, Connecticut, which functions as the nerve center for the retirement

operations of Prudential, which is known and sometimes referred to as “Prudential Retirement.”

                                  IV.    BACKGROUND FACTS

A.      The Services That Prudential Provides To The Plans

        33.      At all pertinent times, Prudential Retirement has held itself out and continues to

hold itself out to Plaintiff, the Plans and the Class as providing a full array of services, and

represents that Prudential can help design and maintain a long-term retirement strategy for a


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company and its employees.

       34.        As Prudential explains on its website with respect to retirement services in

general:

                  Providing Innovative Retirement Solutions for more than 85 Years

                  A Rock Solid® provider with $1.176 trillion in assets under
                  management, Prudential Financial has provided clients with
                  financial solutions since 1875.

                  An insurance leader for more than 135 years, Prudential Financial
                  offers innovative ways to manage risk and provide guaranteed
                  retirement income.

                  An integral part of that tradition for the past 88 years, Prudential
                  Retirement delivers retirement plan solutions for public, private,
                  and nonprofit organizations. Our services include state-of-the-art
                  recordkeeping, administrative services, investment and risk
                  management, comprehensive employee communications, and
                  trustee services.

http://www.retire.prudential.com/view/page/rs/16962. Prudential Retirement has more than

5,000 clients, services more than 3.5 million participants and administers over $360 billion of

assets. As Prudential consistently assures its retirement customers, “[w]hen it comes to your

financial health, remember: Prudential Retirement® can help you plan for a more financially

secure future.”

       35.        Similarly, with respect to the services it provides to defined contribution plans,

including 401(k) plans, Prudential describes its services as follows:

                  We have taken what we do best—balancing growth and
                  protection—and applied our depth of experience to transform how
                  our nation saves for retirement via employer-sponsored plans. Our
                  philosophy focuses on four key disciplines that, when used
                  together, result in a powerful combination:

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                       Smart plan design
                       Streamlined processing
                       Investments and guaranteed income
                       Lifelong education

http://www.retire.prudential.com/view/page/rs/16959.

       36.     As described above, Prudential’s retirement services are provided from a

corporate perspective by PRIAC and Prudential Trust, as well as other affiliated Prudential

entities, all of which act in concert with each other.

       37.     The Plans’ assets that are held in the Separate Accounts (defined below) are

included in the over $250 billion in Separate Account assets that Prudential has under

management, which are included in the over $700 billion in assets on Prudential’s balance sheet.

Ironically, although Prudential markets use of its Separate Accounts as a manner, means and way

to avoid the effects of revenue sharing payments, including the prospect that certain Plans and

their participants are forced to shoulder excessive fees as a result of the revenue sharing

payments associated with their investments, Prudential has no actual process or policy in place to

effectively avoid the pernicious effect of such unlawful payments, despite its obligation as a

fiduciary to do so. Specifically, in its own publications trumpeting its Separate Accounts,

Prudential observes that “[t]he allocation of revenue sharing among participant accounts is

emerging as a fiduciary issue for participant-directed defined contribution plans, such as 401(k)

plans” and that “‘the method of allocation is a fiduciary function that is governed by ERISA’s

general fiduciary duty and prohibited transaction rules...,’” while asserting that “Insurance

Company Separate Accounts provide an opportunity to reduce this disparity by either ‘levelizing’

revenue sharing across all participants, or eliminating revenue sharing altogether and charging a

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separate flat administrative fee.” http://research. prudential.com/documents/rp/

Insurance_Company_Separate_Accounts.pdf, quoting Fiduciary Issues Related to the Allocation

of Revenue Sharing by Fred Reish and Bruce Ashton (July, 2011). But despite that

acknowledgment and assertion, as well as Prudential’s acknowledged status as a fiduciary with

respect to the Separate Accounts, Prudential’s Separate Accounts for the Plans neither levelize

revenue sharing across all participants nor eliminate revenue sharing altogether by simply

charging a direct, separate, flat administrative fee that is identifiable and transparent in nature.

Thus, Prudential’s representations regarding its Separate Accounts are both false and misleading

in nature.

       38.     Prudential is considered a leader in providing services to the employer retirement

markets, which markets include retirement plans such as the Plan. Prudential markets itself as

providing Plans, such as the Ferguson Plan, with the full range of services sufficient to offer

retirement benefits to its employees.

       39.     One of Prudential’s most profitable lines of business is providing services

associated with retirement and benefit plans. Prudential has thousands of 401(k) plan customers

and ranks in the top five of all 401(k) providers in the United States based upon assets under

management.

       40.     The retirement plan services Prudential provides include recordkeeping,

compliance, allocation of participant contributions, distribution of account proceeds to departing

participants, loan processing and administrations, asset transfers, IRS tax withholding and

reporting, provision of benefits illustrations, processing and distribution of benefits and


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withdrawals, and administration of communications with participants.

B.     The Agreements Between The Plans And Prudential And The Retirement
       Investments Provided Under Those Agreements

       41.      Pursuant to the terms of group annuity contracts or group funding agreements (the

“Contracts” or “Group Contracts”), Prudential represents that it manages the retirement plan

assets of the Plans. Prudential enters into such standard form Group Contracts with virtually all

of the Plans.

       42.      Pursuant to the Group Contracts or similar group funding agreements, Prudential

has provided (and provides) investment options to the Ferguson Plan and other similarly situated

Plans, through insurance products called group variable annuities or through similar insurance

arrangements/vehicles.

       43.      After entering into one of the Group Contracts with the Plans, the Group Contract

typically is assigned by the given retirement plan to Prudential Trust, which then collects each of

the Plans’ retirement contributions and invests them in one of the Separate Accounts, in the

Collective Trusts or otherwise in mutual funds through the Trusts. At times, Prudential also may

invest the Separate Accounts into Collective Trusts as a “Participating Trust.”

       44.      Pursuant to the terms of the Group Contracts, the Plans’ retirement assets are

invested in one of two general options: (a) a Prudential Stable Value fund or other fixed account

(collectively, the “Fixed Account” or “Stable Value Fund”); and (b) mutual funds either directly

or through Separate Accounts, Collective Trusts and/or Participating Trusts. No claims are

asserted in this Complaint with respect to the Stable Value Fund.

       45.      Prudential owns the Separate Accounts and the Trusts, and indisputably functions

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as a fiduciary under applicable law with respect to the assets invested through these instruments.

Prudential uses its ownership and control of the Separate Accounts and the Trusts, as well as its

ability to deliver retirement assets to mutual funds, as the tool to negotiate revenue sharing or

participation agreements with the mutual funds so that it can earn compensation in the form of

RSPs that bear no relationship to the services that it provides to the Plans and/or the mutual

funds.

         46.     Plans and their participants have not historically invested directly in the mutual

funds, but invest in “variable accounts,” including the Separate Accounts, as well as by and

through the Trusts discussed above, all of which are established by Prudential, owned and

controlled by Prudential, thereby creating additional layers of fees for Prudential to earn above

and beyond the excessive fees it earns under the Group Contracts (which, alone, can equal 150

basis points (1.5%) of assets or higher). As discussed above and explained in greater detail

below, the Separate Accounts and the Trusts that Prudential uses to invest in mutual funds

operate in a functionally equivalent manner for all purposes of this litigation.

         1.      The Separate Accounts

         47.     The Separate Accounts are established, administered, owned and managed by

Prudential (i.e., PRIAC) and the Separate Accounts’ assets are segregated from the general assets

of Prudential.

         48.     The Separate Accounts are part of an investment vehicle known as a group

variable annuity offered by Prudential. A group variable annuity is an insurance contract that

provides for, among other things, “Separate Account” investments. These types of investment


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vehicles are used to fund qualified retirement plans, like 401(k), profit-sharing, and other types of

company-sponsored retirement plans. The Separate Accounts permit Prudential to pool the

investments of the Plans before collectively investing them in mutual funds and similar

investment vehicles. The assets of each Separate Account are segregated (or separate) from all of

the other assets of Prudential but are not entirely immune from the claims of creditors of

Prudential. The Separate Accounts purchase and own selected mutual funds or other

funds/investment vehicles that mimic the performance of these mutual funds.

       49.     The Separate Accounts maintained by Prudential correspond to and/or are divided

into sub-accounts that correspond to the mutual funds and other investment options available

under the Group Contracts that Prudential maintains with the Plans.

       50.     The Separate Accounts (or their sub-accounts) are divided into accumulation units

(sometimes referred to as “record units”) that track the performance of shares of a selected

mutual fund investment with the price per accumulation unit calculated by dividing the total

value of the assets of the Separate Account by the number of units in the Separate Account.

       51.     Pursuant to the Group Contracts, participants may choose the mutual funds in

which their contributions and any matching contributions made by their employers are invested,

and Prudential allocates those contributions to particular Separate Accounts or sub-accounts

within the Separate Accounts that correspond to the chosen mutual funds. In return for the

contributions, which are assets of these ERISA-qualified plans, the Plans and their participants

receive accumulation units (shares) in the applicable sub-accounts of the separate accounts,

which accumulation units, like the Separate Accounts themselves and the sub-accounts, are held


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and owned by Prudential.

       52.      Prudential maintains discretion, authority and control over the Separate Accounts,

the sub-accounts and the accumulation units.

       53.      The accumulation units of the Plans and their participants, which are held by

Prudential, like the Separate Accounts and sub-accounts, constitute assets of the Plans.

       54.      Based on the combined contributions to the sub-accounts made by all of these

Plans and their participants, Prudential sells and purchases mutual fund shares to hold in the

Separate Accounts (and receives revenue sharing kickbacks in return for these purchases).

       55.      The value of a one of the Plans’ accumulation units (shares) in the Separate

Account fluctuates based upon the value of the mutual fund shares held within the various

sub-accounts.

       56.      Pursuant to the Group Contracts administered and managed by Prudential and

issued in the name of Prudential, Prudential manages the retirement assets of the Plans in the

Separate Accounts and serves as legal title owner and holder of the assets in the Separate

Accounts. Certain of the investments of the Ferguson Plan and the other Plans are held in

Separate Accounts in the name of Prudential, and these investments are administered and

managed by Prudential as well.

       57.      Prudential exercises discretionary authority and control with respect to the Plans’

assets held in the Separate Accounts by, among other things, electing to receive dividends from

the mutual funds into the Separate Accounts in the form of additional mutual funds shares and/or

by making the affirmative investment decision to reinvest all cash dividends from mutual funds


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in additional mutual fund shares of the same mutual funds.

       58.      Under the terms of its own Group Contracts, and in recognition of its fiduciary

status, Prudential holds the Plans’ assets in Separate Accounts under and in Prudential’s own

name before ultimately transferring the Plans’ assets to mutual funds in return for which it is paid

the revenue sharing payments.

       59.     Prudential also influences its own compensation by effectively electing to receive

all dividends payable to the Plans from mutual funds in the form of additional mutual fund

shares, thereby increasing the amount of the assets of the Plans in the Separate Accounts and

under Prudential’s management and, thus, increasing the amount of RSPs payable to Prudential.

       60.     As the owner of the Separate Accounts (i.e., PRIAC) and with Prudential Trust as

the trustee of the Trusts and the Contractholder of the Group Contracts for the Plans, Prudential

retains the discretion, authority and control to vote the interests of the mutual fund shares held in

the Separate Accounts, as well as to engage in securities lending activities with third parties,

pursuant to which it earns excessive compensation on its own account in connection with

transactions involving the assets of the Plans.

       61.     Prudential indisputably holds, owns, administers, manages and controls the

Separate Accounts, as well as their sub-accounts, and uses the Separate Accounts as a delivery

mechanism to purchase and sell shares in the mutual funds.

       62.     In direct return for delivering these funds from the Separate Accounts to the

mutual funds, Prudential receives the RSPs.

       63.     Prudential owns and manages the Separate Accounts and maintains and exercises


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discretion and control with respect to the retirement assets in the Separate Accounts. Prudential

is able to influence and control its own compensation derived from the Separate Accounts by,

among other things, negotiating the terms of the participation agreements with the mutual funds,

which generally make revenue sharing payments on the basis of the assets invested in their

mutual funds. As detailed in the Group Contracts and its Trust Agreements with the Plans,

Prudential maintains complete discretion to substitute, eliminate and add funds within its

Separate Accounts, as well as to make other investment decisions.

       64.     Prudential also controls the menu of available mutual funds offered in its Separate

Accounts and retains the discretion to change its fund menus and to not offer certain investment

options to Plans based upon contract pricing and other considerations.

       65.      Under the Group Contracts, Prudential also retains and exercises the discretion

and control to invest the assets in the Separate Accounts in any manner that it deems permissible

and to invest or reinvest the assets of the Separate Accounts at its sole discretion.

       66.     Prudential also utilizes the assets contained in the Separate Accounts, all of which

appear on its balance sheet, to earn additional compensation independent of the revenue sharing

payments by utilizing uncommitted assets in these Separate Accounts to engage in certain

securities lending transactions for which it earns excessive compensation on its own account.

Thus, Prudential utilizes its ownership and authority over the Separate Accounts, as well as the

discretion and control that it exercises over the Separate Accounts, to obtain additional

compensation from third parties that it effectively self-determines.

       67.     The Group Contracts do not meaningfully disclose that revenue sharing payments


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will be made to Prudential by the mutual funds offered as investments to the Plans or that

Prudential will utilize the investments in the Separate Accounts to generate profits based upon

the existence and leveraging of these assets for Prudential’s own benefit.

       2.      The Trusts

       68.     The Trusts are established, administered, owned and managed by Prudential (i.e.,

Prudential Trust) and the assets of the Trusts are segregated from the general assets of Prudential.

       69.     The Trusts permit Prudential to pool the investments of the Plans or one of the

given Plans before collectively investing them in mutual funds and similar investment vehicles.

The assets of each of the Trusts are segregated (or separate) from all of the other assets of

Prudential. The Trusts purchase and own selected mutual funds or other funds/investment

vehicles.

       70.     The Trusts maintained by Prudential correspond to and/or are divided into

sub-accounts that correspond to the mutual funds and other investment options available under

the Group Contracts that Prudential maintains with the Plans.

       71.     The Trusts (or their sub-accounts) are divided into accumulation units (sometimes

referred to as “record units” or “participation units”) that track the performance of shares of a

selected investment with the price per accumulation unit calculated by dividing the total value of

the assets of one of the Trusts by the number of units in such Trust.

       72.     The Trusts permit Prudential to pool the investments of the participants of one of

the Plans before collectively investing them in mutual funds and similar investment vehicles.

The assets of each of the Trusts are segregated (or separate) from all of the other assets of


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Prudential. The Trusts purchase and own selected mutual funds or other funds/investment

vehicles.

          73.   Pursuant to the Group Contracts, participants may choose the mutual funds in

which their contributions and any matching contributions made by their employers are invested,

and Prudential allocates those contributions to particular Trusts or sub-accounts within the Trusts

that correspond to the chosen mutual funds. In return for the contributions, which are assets of

these ERISA-qualified plans, the Plans and their participants receive accumulation units (shares)

in the applicable sub-accounts of the Trusts, which accumulation units, like the Trusts

themselves and the sub-accounts, are held and owned by Prudential.

          74.   Pursuant to its agreements with the Plans, Prudential Trust agrees to acts as a

fiduciary and to abide by all applicable fiduciary standards by discharging “its duties with respect

to the [P]lan solely in the interest of the participants and beneficiaries with the care, skill,

prudence, and diligence under the circumstances then prevailing that a prudent man acting in the

like capacity and familiar with such matters would use in the conduct of an enterprise of a like

character and with like aims.”

          75.   Prudential takes legal title to all retirement assets of the Plans that it holds in the

Trusts.

          76.   Prudential Trust only agrees to serve as trustee of the Trusts so long as the Plans

maintain one of the Group Contracts or a similar funding medium with PRIAC and utilize the

retirement services of PRIAC.

          77.   Prudential has the ability, in its sole discretion, to restrict the transfer of retirement


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assets between one investment option and another investment option offered to the Plans, as well

as to suspend the valuation rights and withdrawal rights of the Plans with respect to the

retirement assets invested in the Trusts.

        78.     Prudential establishes the investment objectives of each investment fund (“Fund”)

within the Trusts and has the sole authority and discretion to determine whether any particular

investment meets the investment objectives of a Fund.

        79.     Prudential also has sole authority, discretion and control to add or delete Funds

within the Trusts.

        80.     Prudential also retains the authority, discretion and control to establish share

classes within each Fund and to determine its own compensation by changing the share class

and/or share class description within each Fund.

        81.     Prudential also has the authority and control, in its sole discretion, to determine

the value of the Funds.

        82.     Prudential likewise has the authority and control, in its sole discretion, to engage

and/or terminate the services of investment managers for the Funds.

        83.     Prudential has the authority and control, in its sole discretion, to determine how

the assets of the Trusts shall be invested, reinvested or retained as it deems to be in the best

interests of the participants in the Trusts.

        84.     Prudential also has the authority and control, in it sole discretion, to engage in

securities lending with respect to the retirement assets held in the Trusts for which it earns

excessive compensation.


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       85.     As noted above, the Trusts, like the Separate Accounts, are divided into

participation units.

       86.     Prudential specifically acknowledges that it acts in a fiduciary capacity with

respect to the retirement assets of the Plans in the Trusts and that it is an ERISA fiduciary with

respect to the retirement assets held in the Trusts and that it is subject to the requirements of

Sections 404, 405 and 406 of ERISA.

       87.     Prudential Trust exercises exclusive management and control of the Trusts and

each of the Funds in the Trusts.

       88.     Pursuant to the Group Contracts administered and managed by Prudential and

issued in its own name, Prudential manages the retirement assets of the Plans in the Trusts and

serves as legal title owner and holder of the assets in the Trusts. Certain (if not all) of the

investments of the Ferguson Plan and the other Plans are held in the Trusts in the name of

Prudential, which investments also are administered and managed by Prudential.

       89.     Prudential exercises discretionary authority and control with respect to the Plans’

assets held in the Trusts by, among other things, electing to receive dividends from the mutual

funds into the Trusts in the form of additional mutual fund shares and/or by making the

affirmative investment decision to reinvest all cash dividends from mutual funds in additional

mutual fund shares of the same mutual funds.

       90.      Under the terms of its own Group Contracts and Trust Agreements, and in

recognition of its fiduciary status, Prudential holds the Plans’ assets in the Trusts under and its

own name before ultimately transferring the Plans’ assets to mutual funds in return for which it is


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paid the RSPs.

       91.       Prudential also influences its own compensation by effectively electing to receive

all dividends payable to the Plans from mutual funds in the form of additional mutual fund

shares, thereby increasing the amount of the assets of the Plans in the Trusts and under

Prudential’s management and, thus, increasing the amount of RSPs payable to Prudential.

       92.       In direct return for delivering these funds from the Trusts to the mutual funds,

Prudential receives the RSPs.

       93.       Prudential owns and manages the Trusts and maintains and exercises discretion

and control with respect to the retirement assets in the Trusts. Prudential is able to influence and

control its own compensation derived from the Trusts by, among other things, negotiating the

terms of the participation agreements with the mutual funds, which generally make revenue

sharing payments on the basis of the assets invested in their mutual funds. As detailed in the

Group Contracts and its Trust Agreements with the Plans, Prudential maintains complete

discretion to substitute, eliminate and add funds within its Separate Accounts and Trusts, as well

as to make other investment decisions.

       94.       Prudential also controls the menu of available mutual funds offered in its Trusts

and retains the discretion to change its fund menus and to not offer certain investment options to

Plans based upon contract pricing and other considerations.

       95.       The Group Contracts do not meaningfully disclose that revenue sharing payments

will be made to Prudential by the mutual funds offered as investments to the Plans or that

Prudential will utilize the investments in the Trusts to generate profits based upon the existence


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and leveraging of these assets for Prudential’s own benefit.

C.     Prudential Influenced Its Own Compensation Through “GoalMaker™”

       96.     Prudential offers the Plans an “optional, easy-to-use asset allocation program, at

no additional cost” named GoalMaker™ (which the Plan has adopted and, at times, uses as a

default mechanism for investments by its participants), but fails to disclose that Prudential’s

GoalMaker directly steers participant investments into certain proprietary Prudential mutual

funds and other similar mutual funds that are both expensive and unsuitable for most Plans and

their participants, but which earn Prudential significant compensation at the expense of the Plans

and their participants.

       97.     Based upon the Plan’s October 31, 2014 Overview of Plan Investment Options

and Fees, in addition to the Stable Value Fund, the following investment options are used by

Prudential through GoalMaker: American Funds Europacific Growth R6 (49), John Hancock

Disciplined Value R5 (79 bps), Mainstay Large Cap Growth I (77 bps), PIMCO Total Return

Instl (46 bps), Mid-Cap Growth/Artisan Partners (77 bps), JP Morgan Mid-Cap Value Instl (99

bps), Goldman Sachs Small Cap Value (102 bps), Small Cap Growth/TimeSquare (81 bps) and

MFS International Value R5 (76 bps). Notably absent from the GoalMaker allocation is the

availability of any low cost index funds or other suitable alternatives to the expensive, actively

managed mutual funds included by Prudential in the asset-allocation “service.”

       98.     Prudential’s GoalMaker involves excessive fees and risks, as well as undisclosed

conflicts of interest. GoalMaker specifically excludes passive and low-cost investment options

for the Plans and, as a result, is not an appropriate asset allocation product for the Plans and their


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participants.

       99.      Prudential’s attempt to disguise the true nature of GoalMaker by representing that

it is “powered by Morningstar Associates, LLC, a respected industry leader,” is particularly

deceptive and disingenuous. Prudential fails to fully or adequately disclose that Morningstar

Associates, LLC only is permitted to recommend investments for inclusion in the GoalMaker

allocation process from a set of investments hand-picked by Prudential, which have the true

(albeit undisclosed) object of earning Prudential significant compensation. That is one of the

reasons why, as discussed below, over 50% of the Plan’s assets are invested in Prudential

proprietary products, most of which earn Prudential excessive fees.

       100.     Upon information and belief, Prudential’s GoalMaker is an asset allocation

product included in the Plans that involves significant and excessive asset-based revenue sharing

and/or shareholder servicing fees based upon the number of participant accounts, none of which

is adequately disclosed.

       101.     Prudential uses GoalMaker to influence and increase its own compensation, and

earn excessive fees, all while failing to adequately disclose to the Plans or their participants the

true nature of this product/device and thereby breaching its fiduciary duties to the Plans.

D.     The Ferguson Defendants’ Failure To Ensure That Appropriate Investments Were
       Included In The Plan And Available To The Plan’s Participants

       102.     The Ferguson Defendants had a fiduciary duty to ensure that the fees and expenses

incurred by the Plan were fair and reasonable, including ensuring that the expenses associated

with the mutual funds offered for investment in the Plan were fair, reasonable and cost

competitive. The Ferguson Defendants also had the obligation to ensure that the Plan offered

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appropriate and diverse investment options to its participants.

       103.    Although in very recent years, the Ferguson Plan has added some limited, low-

cost Vanguard index funds to the investment options available to participants, as a historical

matter and to this very day, the expenses associated with the investments in the Plan have been

and are grossly excessive, because the investment options made available to the Plan’s

participants, at all pertinent times, have been focused upon expensive and unsuitable actively

managed mutual funds.

       104.    The current investment options and fees associated with these mutual funds are

generally excessive and imprudent, amounting to four times or more the cost of passively

managed mutual funds, with absolutely no justification for this concentration in the Plan on

actively managed and extremely expensive mutual funds, which rarely add value or can be

justified as investment options, especially in the absence of a broad array of passively managed

index funds being also made available. For example, as reflected in the Plan’s October 31, 2014

Overview of Plan Investment Options and Fees, Oakmark Equity & Income I (77 bps), John

Hancock Disciplined Value R5 (79 bps), Mainstay Large Cap Growth I (77 bps), Mid-Cap

Growth/Artisan Partners (77 bps), JP Morgan Mid-Cap Value Instl (99 bps), Goldman Sachs

Small Cap Value (102 bps), Small Cap Growth/TimeSquare (81 bps) and MFS International

Value R5 (76 bps), all have expense ratios of 76-102 bps, which are four or more times greater

than retail passively managed funds -- which generally were not made available to the Plan and

its participants during the pertinent period.

       105.    Until very recently, as noted above, there were no Vanguard index funds offered


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in the Plan and the S&P 500 index mutual fund previously offered in the Plan charged an

astronomical (for an index fund) expense ratio of 30 bps.

       106.    Although the fees and expenses in the Plan have improved (albeit marginally) in

recent years, examination of the investment options available to the Plan participants and the

expenses associated with those investments over the past six years, including the fact that the

Plan has only recently migrated from concentrating its investments through Separate Accounts,

reveals that the Plan has paid grossly excessive fees during the pertinent period and that the

Ferguson Defendants have engaged in significant breaches of fiduciary duty by failing to ensure

that the Plan paid reasonable and appropriate fees and by failing to monitor the conduct of

Prudential, as well as by including GoalMaker in the Plan without adequately disclosing its true

nature to Participants.

E.     The Plans

       107.    At all pertinent times, the Ferguson Plan was a 401(k) retirement plan and, as of

the date of the filing of this Complaint, it remains a 401(k) retirement plan. The Ferguson Plan’s

participants, as well as Ferguson Enterprises, Inc., have funded and continue to fund the Plan.

       108.    Under the Plans, and through the Group Contracts and Trust Agreements with

Prudential, participants are entitled to invest in various mutual funds selected by Prudential for

inclusion as investment options within the Plans.

       109.    Plaintiff is informed and believes that thousands of qualified ERISA retirement

Plans are members of the Class (as defined below), which contracted with Prudential to provide

the same or similar services with respect to the management and administration of the Plans and


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the disposition, investment and management of these Plans’ assets.

F.      The Relationship Between And Among Class Members, Prudential
        And The Mutual Funds

        110.    The employers that are the sponsors and plan administrators of the Plans, which

compose the Class, engage full-service providers, such as Prudential, to design and implement

the qualified ERISA retirement plans and to provide an entire range of administrative,

investment, management and other services necessary to operate them. Agents of Prudential

solicit business on its behalf on the basis that it is a full-service provider that designs and

implements such qualified ERISA retirement plans, and these agents for Prudential receive

commissions for obtaining such business for Prudential.

        111.    In promoting its services, Prudential claims to be a leading provider for corporate

retirement plans that offers a comprehensive array of retirement solutions for its customers.

        112.    After setting up qualified ERISA retirement plans such as the Plans, Prudential

provides all of the services necessary for such retirement plans to operate, including

recordkeeping, compliance, allocation of participant contributions, distribution of account

proceeds to departing participants, loan processing and administration, asset transfers, IRS tax

withholding and reporting, provision of benefits illustrations, processing and distribution of

benefits and withdrawals, and administration of communications with participants.

        113.    At all pertinent times, Prudential knew about the material importance of fees and

costs to the Plans and their participants, including the amount of any “revenue sharing

payments.”

        114.    Mutual funds contract with various entities to perform managerial, administrative,

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accounting, legal and other services. Mutual funds pay the entities providing those services, and

the mutual funds pass those costs on to their investors by charging them a variety of fees, which

are typically referred to as investment management fees, distribution fees, commissions,

sub-transfer agency fees, marketing fees or 12b-1 fees. Investors thereby effectively pay fees to

the mutual funds for these and other services. The mutual funds determine these fees, based on a

designated percentage of the net asset value of all of the shares held in the mutual fund, causing

the net asset value of all of the shares to decrease by the proportionate percentage attributable to

these shares. As a result of the charging of these fees, by way of example, the value of the

mutual fund shares held by Prudential in the Separate Accounts and the Trusts decreases by a

corresponding percentage, which, in turn, reduces the value of each of the interests of the Plans

and their participants in the Separate Accounts and the Trusts.

       115.    At all relevant times, the mutual funds offered by Prudential to the Plans have

been offered through Group Contracts, Trust Agreements and similar arrangements. Certain of

these funds have been owned and/or operated by Prudential itself or its subsidiaries or affiliates.

In addition, Prudential offers certain sub-advised mutual funds for which it consistently and

unnecessarily charges the Plans and their participants excessive and unnecessary fees and

expenses. Sub-advised funds offered by Prudential are simply smaller versions of larger mutual

funds and hold the same stock proportions of investments as the larger mutual funds but, in the

case of the sub-advised mutual fund, because there are two management companies being paid

(one of which typically is Prudential, which performs no meaningful services in return for the

compensation it is paid), the effect is that the Plans pay layered and excessive fees for the same


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investments they could obtain without the “sub-advisory” structure designed and created by

Prudential for its own benefit and account.

       116.    In return for the fees and other amounts charged to the Plan and other similarly

situated Plans, Prudential selects, maintains and monitors a menu of mutual funds available for

investment by these Plans while, as explained above, reserving the right to unilaterally change

the composition of the menu of mutual funds.

       117.    Pursuant to its contracts with the Ferguson Plan and other similarly situated

ERISA retirement Plans, Prudential has the discretion to unilaterally cease offering mutual funds

selected by participants and substitute, in their place, other investments selected by Prudential.

Prudential has added, removed or substituted offerings of mutual funds on its menu of available

investments for current and future Plans.

       118.    The mutual funds establish the percentages of the Plans’ assets that they charge as

fees for their services to cover their normal operating expenses, as well as anticipated profit, and

the amount of the revenue sharing payments that they have agreed to make to Prudential.

       119.    The revenue sharing payments do not bear any relationship to any services

performed by Prudential. In fact, Prudential cannot ascribe specific services performed to the

revenue sharing payments received and, when Prudential obtains increased revenue sharing

payments from mutual funds, it provides no additional services.

       120.    Prudential never has credited the Plans with the amount of revenue sharing

payments it receives on a dollar-for-dollar basis.

       121.    At all pertinent times, Prudential’s receipt of the revenue sharing payments and


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other improper compensation delineated in this Complaint was fraudulently and deceptively

concealed by Prudential. None of Prudential’s Fund Fact Sheets or other documents adequately

disclose the nature of the RSPs it receives.

       122.    Even assuming arguendo that Prudential contends that it somehow adequately

disclosed the existence and nature of these revenue sharing payments, regardless of how it

obscured such disclosure (or purports to assert that any of the Plans consented to its conduct),

Prudential’s receipt of revenue sharing payments for its own account is per se unlawful and

cannot be excused by alleging that there was any purported disclosure or consent. Similarly,

Prudential’s receipt of compensation on its own account, by leveraging the assets contained in

the Separate Accounts and the Trusts, which amounts to self-dealing and the self-payment to

Prudential of unreasonable compensation through the investment and use of the Plans’ retirement

assets, violates applicable law (specifically, ERISA).

G.     Prudential Also Improperly Earns Income On The Assets Of The Trusts And
       Separate Accounts Through Its Conflicted Arrangements And Self-Dealing

       123.    Prudential also has utilized investments in the Separate Accounts and the Trusts

through leveraging and securities lending schemes to earn additional, excessive compensation

through the use of the Plans’ retirement assets for its own profit and gain.

       124.    Prudential also has earned excessive and unlawful compensation in the form of

sub-advisory and other fees with respect to purported, proprietary and other mutual funds.




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                            V.    CLASS ACTION ALLEGATIONS

        125.   This action is brought as a class action by Plaintiff individually and in a

representative capacity on behalf of the Plan and the Plans, as well as the following proposed

class (“Class”) and sub-class (“Sub-Class”):

               Class

               All employee pension benefit plans covered by the Employee
               Retirement Income Security Act of 1974 subject to Internal
               Revenue Code §§ 401(a) or 401(k) with which Prudential has
               maintained a contractual relationship based on a group annuity
               contract, group funding agreement and/or trust agreement.

               Sub-Class

               All participants and beneficiaries of the Ferguson Plan.

Excluded from the Class and Sub-Class are Defendants, any employee pension benefit plans for

which Prudential’s directors, officers or employees are beneficiaries and any employee pension

benefit plans for which the Judge to whom this case is assigned or any other judicial officer

having responsibility for this case is a beneficiary. The claims in this action are asserted with

respect to the period six years preceding the initiation of this proceeding and continuing

thereafter.

        126.   This action may be maintained as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

        127.   Numerosity. Plaintiff is informed and believes that there are at least thousands of

Class and Sub-Class members throughout the United States. As a result, the members of the

Class and Sub-Class are so numerous that their individual joinder in this action is impracticable.


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       128.    Commonality. There are numerous questions of fact and/or law that are common

to the Plan and all the members of the Class and Sub-Class, including, but not limited to the

following:

               (a)       whether Defendants have acted and continue to act as fiduciaries under

ERISA in connection with the conduct described herein;

               (b)       whether Prudential has engaged in prohibited transactions by receiving the

revenue sharing payments for their own benefit, or otherwise earned excessive compensation and

effectively charging excessive fees for the administrative, management and investment services it

provides to the Plans;

               (c)       whether Defendants have breached their fiduciary duties under ERISA by

failing to defray the reasonable expenses of administering the Plans, by charging the Plans

excessive fees and/or by failing to ensure that the fees and expenses of the Plan were fair and

reasonable;

               (d)       whether Prudential has failed to disclose or inform the Plans of the

existence and true nature of the revenue sharing payments, as well as the excessive fees and

compensation received by Prudential and/or charged to the Plan and its participants; and

               (e)       whether and what form of relief should be afforded to Plaintiff, the Class

and the Sub-Class.

       129.    Typicality. Plaintiff, who is a representative of the Plan and the Plans, has claims

that are typical of all of the members of the Class and the Sub-Class. Plaintiff’s claims arise out

of the same uniform course of conduct by Defendants and arise under the same legal theories that


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are applicable as to all other members, respectively, of the Class and Sub-Class.

        130.    Adequacy of Representation. Plaintiff will fairly and adequately represent the

interests of the members of the Class and Sub-Class. Plaintiff has no conflicts of interest with or

interests that are any different from the other members of the Class and Sub-Class. Plaintiff has

retained competent counsel experienced in class action and other complex litigation, including

class actions under ERISA.

        131.    Predominance. Common questions of law and fact predominate over questions

affecting only individual members of the Class and Sub-Class, and the Court, as well as the

parties, will spend the vast majority of their time working to resolve these common issues.

Indeed, virtually the only individual issues of significance will be the exact amount of damages

recovered by each member of the Class and Sub-Class, the calculation of which will ultimately

be a ministerial function and which does not bar certification.

        132.    Superiority. A class action is superior to all other feasible alternatives for the

resolution of this matter. The vast majority, if not all, of the members of the Class and Sub-Class

are unaware of Defendants’ breaches of fiduciary duty and prohibited transactions such that they

will never bring suit individually. Furthermore, even if they were aware of the claims they have

against Defendants, the claims of the Class and Sub-Class members would be too small to

economically justify individual litigation given the complexity of the issues in this case. Finally,

individual litigation of multiple cases would be highly inefficient, a gross waste of the resources

of the courts and of the parties, and potentially could lead to inconsistent results that would be

contrary to the interests of justice.


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        133.    Manageability. This case is well suited for treatment as a class action and easily

can be managed as a class action since evidence of both liability and damages can be adduced,

and proof of liability and damages can be presented, on a class-wide basis, while the allocation

and distribution of damages to Class members and Sub-Class members would be essentially a

ministerial function.

        134.    Defendants have acted on grounds generally applicable to the Class and Sub-

Class, respectively, by uniformly subjecting Class and Sub-Class members to the revenue-sharing

scheme and other conduct described above, which scheme Defendants clearly intend to continue

to perpetrate in the future. Accordingly, injunctive relief, as well as legal and/or equitable

monetary relief (such as disgorgement and/or restitution), along with corresponding declaratory

relief, are appropriate with respect to the Class as a whole.

                                      COUNT I
 (Violation Of ERISA’s Prohibited Transaction Rules And For Breach Of Fiduciary Duty)

        135.    Plaintiff incorporates the allegations in the previous paragraphs of this Complaint

as if fully set forth herein.

        136.    Defendants are fiduciaries of the Plans under ERISA § 3(21)(A), 29 U.S.C. §

1002(21)(a), as explained above, and are fiduciaries based on their discretion, authority and/or

control with respect to the administration, management and/or disposition of the Plans and their

assets, and their provision of investment advice for a fee or other compensation with respect to

the monies or other property of the Plans and Defendants’ authority and responsibility with

respect to the administration and management of the Plans and their retirement assets.

        137.    Prudential controls the selection of the mutual funds available as investment

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options for the Plans and their participants, provides investment advice for compensation with

respect to these investment options, uses its custody, control, ownership and dominion over the

Separate Accounts and Trusts, as well as the accumulated units of assets of the Plans, and uses its

discretionary authority and responsibility in the administration of the Plans to obtain revenue

sharing payments from the mutual funds and to earn other compensation from self-dealing as

described above.

       138.    The revenue sharing payments made by the mutual fund companies to Prudential

constitute plan assets because: (a) Prudential receives the payments as a result of its fiduciary

status or function (e.g., because Prudential receives payments from mutual funds in exchange for

offering and/or recommending the funds as an investment option to the Plans and their

participants); (b) the mutual funds make payments to Prudential at the expense of the Plans and

participants (e.g., because the mutual funds set the fees they charge Plans and participants to

cover not only the fees they would normally charge, but also the amount of the revenue-sharing

payments they have to make to Prudential); and/or (c) revenue-sharing payments effectively

constitute the proceeds of the Plans’ and participants’ investments.

       139.    Prudential is a fiduciary under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(a), with

respect to the revenue sharing payments, because it has discretion and control, or exercises

authority, with respect to the management or disposition of these payments by arranging for,

accepting and retaining them, either directly or through its subsidiaries or affiliates, as well as

self-determining its excessive compensation, as described above.

       140.    Prudential has engaged in and continues to engage in prohibited transactions in


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violation of ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1), by dealing with the assets of the Plans

in its own interest or for its own account.

       141.    Prudential has engaged in and continues to engage in prohibited transactions in

violation of ERISA § 406(b)(2), 29 U.S.C. § 1106(b)(2), by acting on behalf of third parties

which have interests that are adverse to those interests of the Plans, their participants and/or

beneficiaries in connection with transactions involving the Plans.

       142.    Prudential’s receipt and retention (or the receipt and/or retention by its affiliates or

subsidiaries) of the revenue sharing payments, as set forth above, constituted and continues to

constitute prohibited transactions under ERISA § 406(b)(3), 29 U.S.C. § 1106(b)(3), in that the

receipt of revenue sharing payments by Prudential amounts to and constitutes a fiduciary

receiving consideration in the form of revenue sharing payments for its own personal account

from parties such as mutual funds that are dealing with the Plans in connection with transactions

(i.e., the purchase and sale of mutual fund shares) involving the assets of the Plans held in the

separate accounts or sub-accounts, and/or represented by the accumulation units. Specifically,

the mutual funds deal with the Plans by accepting funds from Separate Accounts and Trusts that

represent the investment of the Plans’ assets, and they do so in connection with transactions

involving the assets of the Plans. Furthermore, as explained above, Prudential also has engaged

in prohibited transactions with respect to its control over the investments in the Trusts and

Separate Accounts and its earning of improper and excessive compensation through acts of self-

dealing and by acting solely for its own benefit, as opposed to for the benefit of the Plans.

       143.    Prudential’s arranging for and retention (or the retention by its affiliates or


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subsidiaries) of the revenue sharing payments, as set forth above, violates its fiduciary duties

under ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B), in that Prudential

failed and continues to fail to discharge its duties with respect to the Plans solely in the interest of

the Plans’ participants and beneficiaries and (a) for the exclusive purpose of (i) providing

benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses of

administering the Plans with (b) the care, skill, prudence, and diligence under the circumstances

then prevailing that a prudent man acting in a like capacity and familiar with such matters would

use in the conduct of an enterprise of a like character and with like aims. Prudential’s violations

of ERISA § 406 also amount to per se violations of ERISA § 404.

        144.    Prudential also breached its fiduciary duties by using its discretion and control

over or influence with respect to the Trusts and Separate Accounts, as well as their accumulation

units, to generate the RSPs and other improper compensation for its own benefit. Prudential did

not use the Trusts, Separate Accounts and the accumulation units for the exclusive purpose of

providing benefits to the Plans’ participants and their beneficiaries and defraying reasonable

expenses of administering the Plans and failed to act with the care, skill, prudence and diligence

of a prudent person. As to the revenue sharing payments themselves, to the extent they constitute

Plan assets, Prudential failed to use them for the exclusive purpose of providing benefits to

participants and their beneficiaries and defraying reasonable expenses of administering the Plans

and also failed to act with the care, skill, prudence and diligence of a prudent person. Finally, as

set forth above, Prudential breached its fiduciary duties by earning excessive compensation on its

own account.


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       145.    Prudential and the Ferguson Defendants, as set forth above, have engaged in and

continue to engage in severe breaches of fiduciary duty with respect to the investments in the

Plans and Plan, respectively, in violation of ERISA § 404, 29 U.S.C. § 1104 by failing to (a)

discharge their duties with respect to the Plans and Plan, respectively, solely in the interest of the

Plans, participants and beneficiaries, as applicable, for the exclusive purpose of providing

benefits to participants and their beneficiaries, and defraying reasonable expenses of

administering the Plans, including the Ferguson Plan, with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent man acting in a like capacity and familiar

with such matters would use in the conduct of an enterprise of a like character and with like

aims, and (b) failing to monitor the expenses of the Plans and Plan, respectively, as well as the

performance of other fiduciaries to the Plan or Plans (as applicable) in a prudent and reasonable

manner.

       146.    As a direct result of Defendants’ breaches of duties, Plaintiff, as well as the Class

and Sub-Class, respectively, have suffered losses and damages.

       147.    Pursuant to ERISA §§ 409(a) and 502(a), 29 U.S.C. §§ 1109(a) and 1132(a),

Prudential is liable to the Plans to credit back, disgorge and/or make restitution of all revenue

sharing payments and other improper compensation received by it; or, alternatively, Prudential is

liable to the Plans and the Class to pay damages or make restitution to the Plans in an amount

representing the difference between the revenue sharing payments and other compensation that it

received, and the reasonable fair market value of any services provided to the Plans by

Prudential, while Prudential and the Ferguson Defendants are liable to the Class and Sub-Class,


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respectively, for all losses and related damages suffered by the Plans and the Ferguson Plan,

respectively, caused by their breaches of fiduciary duty.

        148.      Plaintiff, the Class and Sub-Class also are entitled to all equitable or remedial

relief as the Court may deem appropriate and just.

        149.      Pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a), Plaintiff, the Class and Sub-

Class, respectively, seek an Order declaring that the above-described practices violate ERISA, as

set forth above, and seek a permanent injunction preventing Defendants from engaging in such

conduct in the future.

                                               COUNT II

              (For Co-Fiduciary Breach And Liability For Knowing Breach Of Trust)

        150.      Plaintiff incorporates the allegations in the previous paragraphs of this Complaint

as if fully set forth herein.

        151.      In the alternative, to the extent that Prudential or any of the Ferguson Defendants

are not deemed fiduciaries or co-fiduciaries under ERISA, any such Defendant is liable to the

Class and Sub-Class, respectively, for all recoverable damages and relief as a non-fiduciary that

knowingly participated in a breach of trust.

        WHEREFORE, Plaintiff, on behalf of himself, the Class and Sub-Class, demands

judgment against Defendants, Prudential Retirement Insurance and Annuity Company, Prudential

Bank & Trust, FSB, CapFinancial Partners, LLC d/b/a CapTrust Financial Advisors and

Ferguson Enterprises, Inc. for the following relief:

        (a)       Declaratory and injunctive relief pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a)


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as detailed above;

       (b)       Disgorgement, restitution and/or damages as set forth above, plus all other

equitable or remedial relief as the Court may deem appropriate pursuant to ERISA §§ 409(a) and

502(a), 29 U.S.C. §§ 1109(a) and 1132(a);

       (c)       Pre-judgment and post-judgment interest at the maximum permissible rates,

whether at law or in equity;

       (d)       Attorneys’ fees, costs and other recoverable expenses of litigation; and

       (e)       Such further and additional relief to which Plaintiff, the Class and/or the Sub-

Class may be justly entitled and the Court deems appropriate and just under all of the

circumstances.

                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands trial by jury as to all claims so triable.




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                         NOTICE PURSUANT TO ERISA § 502(h)

       To ensure compliance with the requirements of ERISA § 502(h), 29 U.S.C. § 1132(h), the

undersigned hereby affirms that, on this date, a true and correct copy of this Amended Complaint

was served upon the Secretary of Labor and the Secretary of the Treasury by certified mail, return

receipt requested.

Dated: April 6, 2016                         Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 6, 2016, a copy of the foregoing Amended Complaint was
filed electronically and served by mail on anyone unable to accept electronic filing. Plaintiff also
will serve all additional defendants upon issuance of a summons for each such party. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

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